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UNITED STATES DISTRICT COURT                                 SOUTHERN DISTRICT OF TEXAS



Giullian Steele,                                 §
                                                 §
                   Plaintiff,                    §
                                                 §
1!crsus                                          §                        Civil Action H-09-2789
                                                 §
Leasing Enterprises. Ltd., ct al.,               §
                                                 §
                   Defendants.                   §


                                        Final Judgment

           After its findings and conclusions, the court, on October 8, 20r4, considered the
damages for the collective participants.

           The court admitted two charts, marked as Exhibits A - a detailed chart, and B - a
summary chart, identifying ineligible participants and showing wages for eligible participants.
Plaintiffs indicated that they had no objection to the information as stated in the charts, and
that plaintiffs had decided not to submit evidence to the court about post-trial actions by
Perry's.

           Now, consistent with the evidence in the trial and the hearing of October 8, 2or4, the
court finds that the following claimants are not eligible to participate in a recovery; therefore,
these individuals' claims are dismissed with prejudice:


  Last Name          First Name      File     Consent         2-Years        Reason Ineligible
                                               Filed           Back

 Aleman             Raul             r-2    or/12/20ro      or/12/2008      Dismissed from
                                                                            Lawsuit

 Alvarez;           Marcus           127    12/r4/ 20ro     r2/r4/ 2008     Term date
                                                                            9- r -2oo 7
 Apple              Katherine        ror    II/II/20ro      II/II/2008      Term date
                                                                            2-25- 2008
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BarronJr.    Thomas      223   02/rr/20I3       02/rr/20rr      Term date
                                                                5' 29'2010

Behrns       Tamara      122   12/06/2010       12/06/200B      Term date
(Furuya)                                                        9'3'200B
Bell         Meranda     30B   03/ 12 / 20 13   03/ 12 / 20rr   Did not work for
                                                                LEL
Boyd         Sara        rr3   rr/23/ 2oIO      rr/23/ 200B     Term date
(Leach)                                                         1'4' 2007
Bueche       Michelle    B9    rr/02/20IO       rr/02/200B      No server hours
                                                                during time period

Burge        Samantha    127   12/14/ 2010      12/I4/ 200B     Bartender hours
                                                                only

Camarillo    Timothy     124   12/oB/20IO       12/oB/200B      Term date
                                                                5'19' 200 7
Camarillo    Mindy       124   12/oB/20IO       12/oB/200B      Term date
(Howell)                                                        5'4' 200 7
Castro       Kristina    127   12/14/ 2010      I2/I4/ 200B     Bartender hours
                                                                only

Cespedes     Natalie     94    rr/oB/20IO       rr/oB/200B      Term date
                                                                3'4'200B
Connolly     Sean        105   rr/IS/20IO       rr/IS/200B      Term date
                                                                1'19' 200 7
Contreras    Jason       91    rr/04/ 2oIO      rr/04/ 200B     Term date
                                                                B'21' 2oo7
Courtney     Derek       93    rr/oS/20IO       rr/oS/200B      Term date
                                                                2'9'200B
Davenport    Stephanie   rr3   rr/23/ 2olO      rr/23/ 200B     Term date
(Szymczak)                                                      1'4'2007
Faysal       George      rr7   rr/29/ 2olO      rr/29/ 200B     Did not work for
                                                                LEL
Federlein    Jeremiah    107   rr/I7/ 2oIO      rr/I7/ 200B     Term date
                                                                3'3' 200 7
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Fries      John         127     12/14/ 2010       12/14/ 2008     Term date
                                                                  8-10-2.007

Galdenzi    Michael      94     II/08/2.0IO       II/08/2.008     Term date
                                                                  7-2.7-2.008

Garcia     Joshua       7S      II/OI/2.0IO       II/OI/2.008     Term date
                                                                  3- 22 -2. 00 7

Gonzales    Guadalupe   106     II/I6/20IO        II/I6/2.008     Term date
                                                                  9-II -2.008

Haas       Scott        lOS     II/IS/2.0IO       II/IS/2.008     Term date
                                                                  7-2.8-2.008

Hamp       Danielle     II7     II/2.9/2.0IO      II/2.9/2.008    Term date
                                                                  7-31-2008

Harris     Fredricka    3 16    03/2.8/2. 01 3    03/2.8/2.0II    Did not work for
                                                                  LEL
Haven      Douglas      2. 89   03/ 01 /2. 0 13   03/ 0I /2.0II   Did not work for
                                                                  LEL
Herzog     Brandon      13 0    12/17/2.010       12./17/2.008    No server hours
                                                                  during time period

Huckabee   AaronJoel    3 13    03/2.8/2. 0 13    03/2.8/2.0II    No server hours
                                                                  during time period

Hugi       Jean         94      II/08/20IO        II/08/2008      Term date
                                                                  10- 13- 200 7

Jacobs     Jennifer     12.7    12./14/ 2010      12./14/ 2008    Term date
                                                                  II-I9-2. 00 7

Johnson    Jerome       233     02/13/ 201 3      02/ I 3/2.0II   Term date
                                                                  12.-26-2.009

Kelley     Ruth         91      II/04/2.0IO       II/04/ 2008     Term date
                                                                  2-29-2.008

King       Joel         12.7    12./14/ 2010      12./14/ 2008    Term date
                                                                  7-12.-2008

Kinsey     Wade         94      II/08/20IO        II/08/2008      Term date
                                                                  1-2.-2.008
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Kovach      Carolyn      91     rr/04/ 2oIO     rr/04/ 2008    Term date
                                                               2-23- 2008

Kuhfeldt   Christopher   66     10/27/ 2010     10/27/ 2008    No server hours
                                                               during time period

Lara       Josefina      10 9   rr/I9/ 2oIO     rr/I9/ 2008    Training shifts
                                                               only ($7.25 per
                                                               hour)

Larson     Jeff          94     rr/08/20IO      rr/08/2008     Term date
                                                               9- 2 5- 200 7
Lovell     Deirdre       rr9    rr/30/20IO      rr/30/2008     No server hours
                                                               during time period

Martinez   Crissy        104    rr/12/201O      rr/12/2008     Term date
                                                               rr-IO-2008

Masters    Brian         124    12/08/2010      12/08/2008     Last day as server
                                                               rr- I 3- 2oo7
Max        Joshua        rr7    rr/29/ 201O     rr/29/ 2008    No server hours
                                                               during time period

McHenry    Travis        3 20   04/ 04/ 201 3   04/ 04/ 20rr   Consent filed after
                                                               4-3- 2OII
Medina     Christian     101    rr/rr/20Io      II/II/2008     Term date
                                                               2- 17- 2007
Mills      Richard L     235    02/13/ 201 3    02/I3/ 2OII    Term date
                                                               5-4- 2010
Milward    Jamie         II7    II/29/ 2OIO     II/29/ 2008    Term date
                                                               1-12-2007

Morris     Daron         II7    rr/29/ 2oIO     II/29/ 2008    Term date
                                                               4-26-2006

Neuman     Paul                 03/ 04/ 201 3   03/ 04/ 2OII   Second
                                                               consent-Court
                                                               denied (Dkt 324)

Ochoa      Luis          91     II/04/ 2OIO     II/04/ 2008    Term date
                                                               3- 2 5- 200 7
Piper      Matthew       126    12/10/2010      12/10/2008     Term date
           Burton                                              4- 17- 2007
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Piper       Christy       126    12/10/2010       12/lO/2008      Term date
(Lersch)                                                          1-12-2007

Postler     Andrew               03/28/2013       03/28/20II      Second
                                                                  consent-Court
                                                                  Denied (Dkt 324)
Reeves      Devin         121    12/03/ 2010      12/03/ 2008     No server hours
                                                                  during time period

Rzemek      James         134    OI/03/ 2OII      01/03/ 200 9    No server hours
                                                                  during time period

See         Kelly         117    II/29/ 2OIO      II/29/ 2008     Term date
                                                                  6-22-2007
Shenal      Richard       91     11/04/ 2010      II/04/ 2008     Term date
                                                                  3-12-2008

Soto        Adrian        120    12/01/2010       12/01/2008      Term date
                                                                  8-4- 200 7
Szymczak    Marie         II9    II/3O/20IO       II/3O/2008      Term date
                                                                  1-3-2008
Taylor      Emily         95     II/09/ 2olO      II/09/ 2008     Term date
                                                                  9-20-2007
VanEtten    Katherine     247    02/19/ 20 13     02/I9/ 2OII     Term date
                                                                  7-20-2010

Waterbury   Christopher   83     II/OI/20IO       II/OI/2008      Term date
                                                                  1-13' 200 7
Wedderbur   Howard        30 9   03/ 12 / 201 3   03/ 12 / 2OII   Did not work for
n                                                                 LEL
Wilson      Kimberly      104    II/12/20IO       II/12/2008      Term date
                                                                  12-22-2007
Wilson      Vanessa       124    12/08/2010       12/08/2008      No server hours
                                                                  during time period

Yardley     Stephanie     lOS    II/IS/20IO       II/IS/2008      Term date
                                                                  12-10-2007

Yee         Charlotte     127    12/14/ 2010      12/14/ 2008     Did not work for
                                                                  LEL

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        The remaining claims are sustained in the amounts shown in the charts admitted as
Exhibits A and B. For those eligible claimants who are still employed with Perry's, it must
pay these people directly by a separate payroll check. For all other eligible claimants, Perry's
must prepare a separate check for each claimant, in the amount of the wage claim applicable
to that person, and deliver these checks to plaintiffs' counsel for distribution.

        Within thirty   (30) days, Perry's must report that the checks have been disbursed.

        All other claims of the plaintiffs are dismissed with prejudice.

        Perry's violated the Fair Labor Standards Act, but the plaintiffs made superfluous
assertions that needlessly increased the cost of the litigation for all parties. Each party will
bear its own attorney's costs and fees.




        Signed on February _ _ , 2.0I5, at Houston, Texas.




                                                         Lynn N. Hughes

                                                   United States DistrictJudge




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BarronJr.    Thomas      223     02/II/ 20 13     02/II/20II      Term date
                                                                  5'29'2010
Behrns       Tamara      122     12/06/20IO       12/06/2008      Term date
(Furuya)                                                          9'3'2008
Bell         Meranda     308     03/ 12 / 201 3   03/ 12 / 2OII   Did not work for
                                                                  LEL
Boyd         Sara        113     II/23/ 2OIO      II/23/ 2008     Term date
(Leach)                                                           1'4' 200 7
Bueche       Michelle     89     II/02/20IO       II/02/2008      No server hours
                                                                  during time period

Burge        Samantha    'I 27   12/14/ 2010      12/14/ 2008     Bartender hours
                                                                  only

Camarillo    Timothy     124     12/08/2010       12/08/2008      Term date
                                                                  5'19' 200 7
Camarillo    Mindy       124     12/08/2010       12/08/2008      Term date
(Howell)                                                          5'4' 2007
Castro       Kristina    127     12/14/ 2010      12/14/ 2008     Bartender hours
                                                                  only

Cespedes     Natalie     94      II/08/20IO       II/08/2008      Term date
                                                                  3'4'2008
Connolly     Sean        105     II/IS/20IO       II/IS/2008      Term date
                                                                  1'19' 200 7
Contreras    Jason       91      II/04/ 2OIO      II/04/ 2008     Term date
                                                                  8'21' 200 7
Courtney     Derek       93      II/OS/20IO       II/OS/2008      Term date
                                                                  2'9'2008

Davenport    Stephanie   II3     II/23/ 2OIO      II/23/ 2008     Term date
(Szymczak)                                                        1'4'2007
Faysal       George      II7     II/29/ 2OIO      II/29/ 2008     Did not work for
                                                                  LEL
Federlein    Jeremiah    107     II/I7/ 2OIO      II/I7/ 2008     Term date
                                                                  3'3' 2007
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Fries      John         I27    I2/I4/ 2OIO    I2/I4/ 2008   Term date
                                                            8-10-2007

Galdenzi    Michael      94    II/08/20IO     II/08/2008    Term date
                                                            7-27-2008
Garcia     Joshua        7S    II/OI/20IO     II/OI/2008    Term date
                                                            },22- 2OO7

Gonzales    Guadalupe   106    II/I6/20IO     II/I6/2008    Term date
                                                            9-II-2008

Haas        Scott       lOS    II/IS/20IO     II/IS/2008    Term date
                                                            7-28-2008

Hamp        Danielle    II7    II/29/ 2OIO    II/29/ 2008   Term date
                                                            7-31-2008
Harris      Fredricka   3 16   03/28/2013     03/28/20II    Did not work for
                                                            LEL
Haven       Douglas     28 9   03/01/2013     03/0I/20II    Did not work for
                                                            LEL
Herzog      Brandon     13 0   I2/I7/ 2OIO    I2/I7/ 2008   No server hours
                                                            during rime period

Huckabee   AaronJoel    3 13   03/28/2013     03/28/20II    No server hours
                                                            during rime period

Hugi       Jean         94     II/08/20IO     II/08/2008    Term date
                                                            IO-I}'2OO7

Jacobs     Jennifer     I27    I2/I4/ 2OIO    I2/I4/ 2008   Term date
                                                            II-I9- 2OO7
Johnson    Jerome       233    02/13/ 201 3   02/I3/ 2OII   Term date
                                                            I2-26-2oo9
Kelley     Ruth         91     II/04/ 2OIO    II/04/ 2008   Term date
                                                            2-29- 2008
King       Joel         I27    I2/I4/ 2OIO    I2/I4/ 2008   Term date
                                                            7-12-2008
Kinsey     Wade         94     II/08/20IO     II/08/2008    Term date
                                                            1-2-2008
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Kovach      Carolyn       91     II/04/ 2OIO         II/04/ 2008    Term date
                                                                    2-23- 2008
Kuhfeldt    Christopher   66     10/27/ 2010         10/27/ 2008    No server hours
                                                                    during time period

Lara        Josefina      10 9   II/I9/ 2OIO         II/I9/ 2008    Training shifts
                                                                    only ($7.25 per
                                                                    hour)

Larson      Jeff          94     II/08/20IO          II/08/2008     Term date
                                                                    9- 2 5- 2007
Lovell      Deirdre       II9    II/3O/20IO          II/3O/2008     No server hours
                                                                    during time period

Martinez;   Crissy        104    II/12/20IO          II/12/2008     Term date
                                                                    11-10-2008

Masters     Brian         124    12/08/2010          12/08/2008     Last day as server
                                                                    II-I3-2OO7
Max         Joshua        II7    II/29/ 2OIO         II/29/ 2008    No server hours
                                                                    during time period

McHenry     Travis        3 20   04/ 04/ 201 3       04/ 04/ 2OII   Consent filed after
                                                                    4-Y20II
Medina      Christian     101    II/II/20IO          II/II/2008     Term date
                                                                    2- 17- 2007
Mills       RichardL      235    02/13/ 201 3        02/I3/ 2OII    Term date
                                                                    5-4- 2010
Milward     Jamie         II7    II/29/ 201O         11/29/ 2008    Term date
                                                                    1-12-2007
Morris      Daron         II7    II/29/ 201O     .   11/29/ 2008    Term date
                                                                    4-26-2006

Neuman      Paul                 03/ 04/ 201 3       03/ 04/ 2OII   Second
                                                                    consent-C ourt
                                                                    denied (Dkt 324)

Ochoa       Luis          91     II/04/ 201O         II/04/ 2008    Term date
                                                                    3- 2 5- 2007

Piper       Matthew       126    12/IO/20IO          12/10/2008     Term date
            Burton                                                  4- 17- 200 7
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Piper       Christy       126    12/10/2010       12/10/2008      Term date
(Lersch)                                                          1-12-2007

PostIer     Andrew               03/ 28 / 20 13   03/28/20II      Second
                                                                  consent-Court
                                                                  Denied (Dkt 324)

Reeves      Devin         121    12/03/ 2010      12/03/ 2008     No server hours
                                                                  during time period

Rzemek      James         134    OI/03/ 2OII      01/03/ 200 9    No server hours
                                                                  during time period

See         Kelly         II7    II/29/ 2OIO      11/29/ 2008     Term date
                                                                  6-22-2007

Shenal      Richard       91     II/04/ 2OIO      II/04/ 2008     Term date
                                                                  3-12-2008

Soto        Adrian        120    12/01/2010       12/01/2008      Term date
                                                                  8-4- 2007

Szymczak    Marie         II9    II/3O/20IO       II/3O/2008      Term date
                                                                  1-3-2008

Taylor      Emily         9S     II/09/ 2OIO      II/09/ 2008     Term date
                                                                  9-20-2007

Van Etten   Katherine     247    02/19/ 201 3     02/I9/ 2OII     Term date
                                                                  7-20-2010

Waterbury   Christopher   83     II/OI/20IO       II/OI/2008      Term date
                                                                  1-13- 200 7

Wedderbur   Howard        30 9   03/ 12 / 201 3   03/ 12 / 2OII   Did not work for
n                                                                 LEL

Wilson      Kimberly      104    II/12/20IO       II/12/2008      Term date
                                                                  12-22-2007

Wilson      Vanessa       124    12/08/2010       12/08/2008      No server hours
                                                                  during time period

Yardley     Stephanie     lOS    II/IS/20IO       II/IS/2008      Term date
                                                                  12-10-2007

Yee         Charlotte     127    12/14/ 2010      12/14/ 2008     Did not work for
                                                                  LEL
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A and B. For those eligible claimants who are still employed with Perry's, it must pay these people
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check for each claimant in the amount of the wage claim applicable to that person, and deliver these
checks to plaintiffs' counsel for distribution.


        Within thirty   (30) days, Perry's must report that the checks have been disbursed.

       All other claims of the plaintiffs are dismissed with prejudice.


        Perry's violated the Fair Labor Standards Act, but the plaintiffs' superfluous assertions
needlessly increased the cost of the litigation for all parties. Therefore, each party will bear its own



                             1,
attorney's fees and costs.

        Signed on February           2015,   at Houston, Texas.




                                                   United States DistrictJudge




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